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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

PIERRE FATTOUCH                                      :
                                                     :
MOUSSA FATTOUCH                                      :
                                                     :
UNITED LEBANESE QUARRIES AND         :
CRUSHERS COMPANY S.A.L.              :
                             Plaintiffs
                                     :                       Case No.: 1:20-CV-02599-EGS
v.                                   :
THE REPUBLIC OF LEBANON,             :
Its Ministries, Agencies, and Instrumentalities
                                     :
c/o Ministry of Justice              :
                                     :
HER EXCELLENCY MARIE-CLAUD NAJIM :
Minister of Justice                  :
                    Defendant State. :


                                  MEMORANDUM OF LAW

                                        INTRODUCTION

       Plaintiffs are in possession of final judgements that are the product of a legal system that

afforded the defendants due process of law. Defendants have persisted in failing to satisfy the

judgements, hence causing the plaintiffs to pursue relief under the Uniform Foreign-Country

Money Judgments Recognition Act of 2011, D.C. Code §15-361, §15.636 and, §15.364, et. seq.

As articulated in the amended complaint, the defendants have been aware of the finality of the

judgements since 2005 and 2017, yet they have not provided satisfaction to the plaintiffs.

       In truth and in fact, the defendants have actual notice of the initial complaint and

amended complaint. Defendants have engaged in a sustained effort, in US Courts, to thwart

responsibility for a valid judgement from their own justice system.

       The defendants yet again claim that service of process has not been effected upon them.

One thing that is certain, is that both defendants are well aware of the lawsuit brought against

them in federal court in the District of Columbia.


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        In an abundance of caution, particularly since the defendants have not authorized their

defense counsel to accept service of the amended complaint or execute a Waiver of Service of

Summons for the Amended Complaint, plaintiffs completed the process as specified in 28 U.S.C.

1608.

                                           ARGUMENT

        Service upon both defendants was made on July 14, 2021, under 28 U.S.C. 1608(b)(3)(B)

and docketed on August 5, 2021 (D.I. 34). Now, nearly two months later, the defendants take

issue with service of process.

        First, with respect to defendant Minister of Justice Marie-Claud Najim, as an agency or

instrumentality of a foreign state, service may be made under 1608(b)(3)(B), which states in

pertinent part:

        “(b)Service in the courts of the United States and of the States shall be made upon an

        agency or instrumentality of a foreign state:

        (1) by delivery of a copy of the summons and complaint in accordance with any special

        arrangement for service between the plaintiff and the agency or instrumentality; or

        (2) if no special arrangement exists, by delivery of a copy of the summons and complaint

        either to an officer, a managing or general agent, or to any other agent authorized by

        appointment or by law to receive service of process in the United States; or in accordance

        with an applicable international convention on service of judicial documents; or

        (3) if service cannot be made under paragraphs (1) or (2), and if reasonably calculated

        to give actual notice, by delivery of a copy of the summons and complaint, together with

        a translation of each into the official language of the foreign state—




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                  (A)as directed by an authority of the foreign state or political subdivision in

                  response to a letter rogatory or request or

                  (B)by any form of mail requiring a signed receipt, to be addressed and dispatched

                  by the clerk of the court to the agency or instrumentality to be served, or . . .”

[Emphasis added]

Plaintiffs complied with the aforesaid provision and such compliance is reflected on the docket.

(D.I. 32, 33, and 34).

          Next, with respect to the defendant Republic of Lebanon, it was not until September 10,

2021, that the Republic of Lebanon finally formed a new government. Since August 2020, only a

caretaker government was in place. Given the turmoil, plaintiffs sought to effect service that

would be received by a functioning official. Clearly the service of process documents was

received by such an individual.1 Perhaps, this is the same reason for the delay in the filing of

defendants supplemental motion. Nonetheless, now that a functioning minister is seated in the

Ministry of Foreign Affairs and Emigrants, plaintiffs will again submit for service, in the manner

discussed in the defendants’ motion to dismiss for lack of service, (28 U.S.C. Section

1608(a)(3)), directed to the Ministry of Foreign Affairs and Emigrants. Plaintiffs respectfully

seek leave of the Court for an additional sixty (60) days to serve the defendants. See, e.g.,

Novak v. World Bank, 703 F.2d 1305, 1310 (D.C.Cir.1983).




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    See https://www.cnn.com/2021/09/10/middleeast/lebanon-new-government-intl/index.html


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                                         CONCLUSION

        Plaintiffs have always sought to effect service of process in a manner that would indeed

afford notice to the defendants. The crisis of government in Lebanon has complicated this

endeavor. Now that a government has been formed, plaintiffs will effectuate service on the

Ministry of Foreign Affairs and Emigrants to serve the defendant Republic of Lebanon.

DATE:          September 22, 2021

                                                     Respectfully submitted,

                                                        /s/          _______________________
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the attached filing and memorandum of law was served
upon the below listed individual(s) via ECF.

Carmine D. Boccuzzi, Jr. cboccuzzi@cgsh.com

Rathna Ramamurthi, rramamurthi@cgsh.com

DATE: September 22, 2021

                                                          Respectfully submitted,

                                                          /s/___________________
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